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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   No. 2:10-cr-00517 KJM
12             Plaintiff,             )
                                      )   STIPULATION AND ORDER
13                                    )   CONTINUING STATUS
          v.                          )   CONFERENCE
14                                    )
     HENRY KHENG HO,                  )
15   and GUAN ZHANG LUO,              )
                                      )
16             Defendants.            )
                                      )
17
18
19        IT IS HEREBY STIPULATED by and between Plaintiff United
20   States of America and Attorney Christopher H. Wing, Counsel for
21   Defendant Henry Kheng Ho, and Attorney John E. Virga, Counsel for
22   Defendant Guan Zhang Luo, that the initial status conference
23   scheduled for January 28, 2011, be continued to March 31, 2011,
24   at 10:00 a.m.
25        On January 21, 2011, Chief United States District Judge
26   Anthony W. Ishii issued an “Order of Reassignment” transferring
27   this matter from U.S. District Judge Garland E. Burrell Jr. to
28   U.S. District Judge Kimberly J. Mueller for all further

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 1   proceedings.     The parties had scheduled the initial appearance
 2   before Judge Burrell prior to issuance of the Order of
 3   Reassignment.     The parties are now requesting to vacate the
 4   January 28 date and set a new status conference on March 31,
 5   2011.
 6           The request to continue the initial status conference is
 7   made on the ground that the government has provided discovery and
 8   counsel for both defendants need additional time to review the
 9   information with their respective clients.           All parties are
10   therefore requesting additional time for attorney preparation.
11   The government and defendants agree that an exclusion of time is
12   appropriate under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4
13   (reasonable time to prepare).        This exclusion of time includes
14   the period from January 28, 2011, up to and including March 31,
15   2011.
16           Christopher H. Wing and John E. Virga agree to this request
17   and have authorized Assistant United States Attorney Todd D.
18   Leras to sign this stipulation on their behalf.
19
20   DATED: January 25, 2011               By: /s/ Todd D. Leras
                                               TODD D. LERAS
21                                             Assistant U.S. Attorney
22
23   DATED: January 25, 2011               By: /s/ Todd D. Leras for
                                               CHRISTOPHER H. WING
24                                             Attorney for Defendant
                                               HENRY KHENG HO
25
26   DATED: January 25, 2011               By: /s/ Todd D. Leras for
                                               JOHN E. VIRGA
27                                             Attorney for Defendant
                                               GUAN ZHANG LUO
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 1           IT IS HEREBY ORDERED:
 2           1.   The initial status conference set for January 28, 2011,
 3   before Judge Garland E. Burrell Jr. is VACATED and RESET for
 4   March 31, 2011, at 10:00 a.m. before Judge Kimberly J. Mueller.
 5           2.   Based on the stipulations and representations of the
 6   parties, the Court finds that the ends of justice outweigh the
 7   best interest of the public and defendant in a speedy trial.
 8   Accordingly, time under the Speedy Trial Act shall be excluded
 9   under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable
10   time to prepare) from January 28, 2011, up to and including March
11   31, 2011.
12           IT IS SO ORDERED.
13   Date:    January 27, 2011.
14
15                                            UNITED STATES DISTRICT JUDGE
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